






NO. 07-04-0007-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



NOVEMBER 3, 2005


______________________________



VIVIAN COONS, et al., 



								Appellants


v.



HOCKLEY COUNTY APPRAISAL DISTRICT, 



								Appellee

_________________________________



FROM THE 286TH DISTRICT COURT OF HOCKLEY COUNTY;



NO. 00-08-18109; HON. HAROLD PHELAN, PRESIDING


_______________________________



Memorandum Opinion


_______________________________



Before QUINN, C.J., and REAVIS and CAMPBELL, JJ.


	Vivian Coons, Bank of America, as Trustee of the Vivian Coons Trust, Jack Walker,
as Executor of the Estate of Christina J. Coons, deceased, and as Trustee of the Michael
Arthur Coons Revocable Trust, the Michael A. Coons Trust under the will of Christina J.
Coons, the Terry Dean Coons Revocable Trust, the Terry Dean Coons Revocable Trust
under the will of Christina J. Coons, the Ronda S. Caldwell Revocable Trust, the Ronda
S. Caldwell Trust under the will of Christina J. Coons, the Mark C. Coons Trust 1, the Mark
C. Coons Revocable Inter Vivos Trust, the Mark C. Coons Trust under the will of Christina
J. Coons, the Gima D. Coons Trust 1, the Gima D. Coons Revocable Inter Vivos Trust, and
the Gima D. Coons Trust under the will of Christina J. Coons (the Coons) appeal from a
judgment denying them recovery against the Hockley County Appraisal District (Hockley
District).  Though couched in different words, the issues raised by the Coons mirror those
asserted by Devon Energy Production Company, L.P. and PennzEnergy Exploration and
Production, L.L.C. in our cause number 07-04-0005-CV.  Furthermore, the opinion we
issued today in that case controls the outcome here.  So we incorporate that opinion into
this one and reverse the judgment of the trial court.

	The record discloses that the Coons sued Hockley District to nullify various
appraisals of their royalty interests.  Those interests were created via three oil and gas
leases, the M.G. Gordon Lease, the W.A. Coons Lease, and the Coons Lease. 
Furthermore, each lease involved realty crossing the Hockley and Terry County lines.  That
is, of the surface acreage mentioned in the Gordon lease, 83.3% lay in Hockley County
while the remainder was in Terry County.  Regarding the W.A. Coons lease, 85% of the
surface acreage was in Hockley and the remainder in Terry.  Finally, 82.5% of the surface
in the Coons Lease was located in Hockley with the remainder in Terry.

	Next, evidence of record illustrated that the borders of the subsurface mineral
reserves were not co-terminous with those of the surface.  For instance, 50% of the mineral
reserves under the M.G. Gordon Lease were in Hockley County, while 71% under the W.A.
Coons Lease were, and no percent of the reserves under the Coons Lease were. 
Moreover, in assessing the fair market value of the property subject to taxation by those
taxing units in Hockley County, Hockley District relied not on the percentage of reserves
within the county but rather upon the number of surface acres.  In other words, it calculated
the value of the entire reserve captured within the respective lease and multiplied that
number by the percentage of surface acres within Hockley County.  This led to results
which Coons found unacceptable.  For instance, Hockley District concluded that 85% of
the value of the reserves under the W.A. Coons Lease were subject to taxation by Hockley
County entities even though none of the reserves were actually located in that county.  

	As previously mentioned, our opinion in cause number 07-04-0005-CV controls the
outcome here.  Furthermore, because the record at bar disclosed that Hockley District's
appraisals failed to comport with the authority and analysis discussed in that opinion, we
sustain the contention that the assessments were erroneous.  

	As to the matter of attorney's fees, we again refer the litigants to our opinion in 07-04-0005-CV.  The analysis and authority discussed under point two of that document
applies at bar.  And, based upon that analysis and those authorities, the trial court is
obligated to reconsider the issue.  

	Accordingly, we reverse the judgment and remand the cause.


							Brian Quinn

						          Chief Justice


